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                              Nos. 23-5343


               UNITED STATES COURT OF APPEALS
                    FOR THE SIXTH CIRCUIT


                COMMONWEALTH OF KENTUCKY,
                      Plaintiff-Appellant,

                                    v.

         ENVIRONMENTAL PROTECTION AGENCY, et al.,
                   Defendants-Appellees.


On Appeal from the U.S. District Court for the Eastern District of Kentucky
   No. 3:23-cv-7 (Hon. Gregory F. Van Tatenhove, U.S. District Judge)


             DEFENDANTS-APPELLEES’ STATUS REPORT



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      Pursuant to this Court’s July 3, 2023, Order, Federal Appellees submit

this status report. On January 18, 2023, the Environmental Protection Agency

and Army Corps of Engineers (Agencies) published the Revised Definition of

“Waters of the United States,” 88 Fed. Reg. 3004. The State of Kentucky and

several trade associations (Plaintiffs) brought challenges to the Rule and moved

to preliminarily enjoin the Rule. The district court denied Plaintiffs’ motions and

dismissed Plaintiffs’ claims for lack of standing and ripeness. Plaintiffs appealed

in both cases and moved for injunctions pending appeal. This Court granted

Plaintiffs’ motions and enjoined the Rule’s enforcement in the state of Kentucky,

and against all Plaintiffs and their members.

      On May 25, 2023, the Supreme Court issued an opinion in Sackett v. EPA,

143 S. Ct. 1322, which addresses the standard for determining what constitutes

“waters of the United States.” In June, the Agencies announced that they were

developing a new rule to conform the definition of “waters of the United States”

with Sackett, and that the Agencies intend to issue the rule on or before

September 1, 2023. As a result, the Agencies moved this Court to hold the

related appeals in abeyance pending publication of a new final rule regarding the

definition of “waters of the United States” in the Federal Register, which this

Court granted.




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       On August 29, 2023, the Agencies issued a final rule that amends the

“Revised Definition of ‘Waters of the United States’” to conform with Sackett.

U.S.        EPA,           Amendments        to       the          2023       Rule,

https://www.epa.gov/wotus/amendments-2023-rule.             The    Agencies   have

submitted the new rule for publication in the Federal Register, but the rule has

not yet been published. It is Federal Appellees’ view that the abeyance will end

once the new rule is published in the Federal Register. The Agencies will notify

the Court and the parties when the new rule is published, at which point the

Court should issue a new briefing schedule.1




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 If the new rule has not been published in 60 days, pursuant to this Court’s
July 3 Order, the Agencies will submit a status report by October 31, 2023, and
every 60 days thereafter for the duration of the abeyance.

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                               Respectfully submitted,

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